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IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
MARYLAND

IN THE MATTER OF : CHAPTER 7
Keith Stevens : CASE NO. 07-19162
Melissa Stevens

Debtors.

NOW COME, THE DEBTORS, by and through their attorney, Joseph R. Laumann,
Esquire, stating the following:
|. That this matter was closed without discharge.

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2. That the Debtors have completed his pre discharge counseling.

3. That the Debtors failed to submit the notice to the Court believing that the counseling
agency would forward it to the Court.

4, That once the undersigned was provided with said certificate, it was submitted unto the
Court.

5. That the Debtors, through counsel, have filed the required certificate with the Court.

 

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a. That this matter be reopened for the sole purpose of filing the debtors’ certificates of
Debtor Education.

b. That he be allowed to continue this matter in the normal course.

c. That he be granted any further and such other relief as the nature of his cause may
require.

Respectfully Submitted,
/s/

 

Joseph R. Laumann, Esquire (14235)
1160 Spa Road, Ste 3C

Annapolis, MD 21403

410-216-9822
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ORDER GRANTING MOTION TO RECONSIDE

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UPON THE CONSIDERATION OF the Debtors’ Motion to Reopen Case, and any
answer thereto, it is hereby GRANTED, and that this matter is reopened.

cc: Debtors
Debtors' Counsel
Trustee

end of order
